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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
____________________________________
                                         )
HAMPTON DELLINGER                        )
in his personal capacity and             )
in his official capacity as              )
Special Counsel of the                   )
Office of Special Counsel,               )
                                         )
                        Plaintiff,       )
                                         )    Civil Action No. 25-0385 (ABJ)
        v.                               )
                                         )
SCOTT BESSENT                            )
in his official capacity as              )
Secretary of the Treasury, et al.,       )
                                         )
                        Defendants.      )
____________________________________)

                                              ORDER

       As of Friday, February 7, 2025, at 7:21 p.m., plaintiff Hampton Dellinger was the Special

Counsel of the Office of Special Counsel, having been appointed by the President and confirmed

by the Senate. At 7:22 p.m., Sergio N. Gor, identified as an Assistant to the President, Director of

Presidential Personnel Office, informed plaintiff that his position was terminated without

identifying any reason. Ex. A to Compl. [Dkt. # 1-1] at 1.

       On Monday, February 10, 2025, plaintiff sued to challenge the purported termination, and

he moved for a temporary restraining order. See Compl. [Dkt. # 1]; Pl.’s Mot. for a Temporary

Restraining Order [Dkt. # 2] (“Pl.’s TRO”). On that date, the Court entered a short administrative

stay preserving the status quo while the parties briefed the matter, citing authority defining “status

quo” as “‘the regime in place’ before the challenged action . . . or ‘the last uncontested status which

preceded the pending controversy.’” See Minute Order (Feb. 10, 2025), quoting Huisha-Huisha

v. Mayorkas, 27 F.4th 718, 733–34 (D.C. Cir. 2022) and District 50, United Mine Workers of Am.
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v. Int’l Union, United Mine Workers of Am., 412 F.2d 165, 168 (D.C. Cir. 1969). Defendants filed

their opposition to the temporary restraining order the next day, February 11. See Defs.’ Opp. to

Pl.’s TRO [Dkt. # 11].

       On February 12, 2025, the Court issued a temporary restraining order. See Order [Dkt.

# 14]. It was entered with notice to the opposing party, and it stated that it would remain in force

until the Court ruled on plaintiff’s request for preliminary injunction. See id. at 26 (“[F]rom the

date of entry of this order until the Court rules on the entry of preliminary injunction, plaintiff

Hampton Dellinger shall continue to serve as Special Counsel . . . .”). The Court scheduled the

preliminary injunction hearing for a date 14 days later: February 26. Id. at 27. Given the terms

of Federal Rule of Civil Procedure 65 and the understandings expressed by the Supreme Court and

the Court of Appeals, the temporary restraining order expires today.

       When the TRO was issued on February 12, plaintiff had not yet had the opportunity to

reply to the defendants’ opposition, so the Court established a briefing schedule. It also directed

the parties to inform the Court of their positions as to whether the Court should advance the

consideration of the merits and consolidate it with the preliminary injunction hearing under Rule

of Civil Procedure 65(a)(2) by February 14, 2025. Id. at 26–27.

       In the meantime, on February 12, defendants noticed an appeal of the temporary restraining

order. See Defs.’ Notice of Appeal [Dkt. # 15].

       On February 14, the Court received a joint status report from the parties with their positions

on consolidation: plaintiff deferred to the Court, and defendants stated their preference for

utilizing the procedure that would result in the prompt issuance of a decision on the merits. See

Joint Status Report [Dkt. # 20] at 1–2. Based on that submission, the Court entered an order

consolidating the preliminary injunction with the merits, and it called for the expeditious



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submission of cross motions for summary judgment, culminating with the hearing today and the

final reply being filed tomorrow. See Minute Order (Feb. 15, 2025). It also informed the parties

that they had the option of incorporating or relying upon previously filed memoranda in support

of those motions. Id.

        On February 15, 2025, the Court of Appeals dismissed defendants’ appeal for lack of

jurisdiction since the temporary restraining order was not a final order. See Order, Dellinger v.

Bessent, 25-5028 (Feb. 15, 2025). On February 16, defendants filed an application with the

Supreme Court seeking immediate review of the temporary restraining order. See Appl. to Vacate

the Order, Bessent v. Dellinger, No. 24A (Feb. 16, 2025). On February 20, plaintiff filed his reply

to the opposition to the motion for interim relief, raising some arguments that had not been

advanced in the initial motion.

        On Friday, February 21, 2025, five days after the application was filed, the Supreme Court

announced that it would hold the application in abeyance for the remainder of the fourteen days

until the temporary restraining order was due to expire, that is, until Feb 26, the date of the hearing.

Bessent v. Dellinger, 604 U.S. __ (2025).

        Under Federal Rule of Civil Procedure 65(b)(2), a temporary restraining order without

notice is valid for a period “not to exceed 14 days . . . unless before that time the court, for good

cause, extends it for a like period or the adverse party consents to a longer extension.” Fed. R.

Civ. P. 65(b)(2). While Rule 65(b)(2) is silent on the timeline for temporary restraining orders

entered with notice, it is generally accepted that the standard fourteen days followed by a

fourteen-day extension for good cause applies to a TRO entered with notice as well. See 11A

Charles A. Wright, Federal Practice & Procedure § 2953 (3d ed. 2024) (“The text of Rule 65(b)

seems to exclude any possibility that a temporary restraining order can remain in force beyond 28



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days. . . . It also has been held that this time limitation applies even when the order is not issued

ex parte and both notice and a hearing are held.”). If a TRO lasts longer than twenty-eight days,

courts will construe it to be a preliminary injunction, which would be appealable immediately. Id.;

see Nat’l Mediation Bd. v. Airline Pilots Ass’n, Int’l, 323 F.2d 305, 305 (D.C. Cir. 1963).

       The Court is well aware that the case is in the very unusual posture of being the subject of

an application before the Supreme Court before a final order has been issued and before the United

States Court of Appeals for the District Columbia has had the opportunity to review that final

order. It recognizes that the Supreme Court – with the understanding that the TRO expires at

midnight tonight – is holding the application in abeyance until that time. So it is incumbent upon

this Court to resolve this matter even more expeditiously than the Federal Rules of Civil Procedure

would ordinarily permit; and the Court will do so.

       Given the significance of the constitutional questions presented, though, it is also

incumbent upon the Court to give full consideration to all of the arguments advanced during

today’s hearing before it finalizes its opinion. It is also necessary to give close consideration to

all of the pleadings submitted by the parties after the TRO issued, and to rule on questions raised

after the defendants asked the Supreme Court to take the case. This includes defendants’ thirty-

page motion for summary judgment [Dkt. 22], filed on Friday, February 21, which advances

arguments concerning the Court’s authority to impose equitable remedies for the first time before

this Court; plaintiff’s forty-page opposition and cross motion for summary judgment, filed on

Monday, February 24; defendants’ reply, filed on February 25; and plaintiff’s cross opposition,

which is not due until tomorrow. This is particularly true now that the motion for a preliminary

injunction has been consolidated with the merits, as defendants requested.




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        At the hearing, the Court solicited the parties’ views on the matter. Plaintiff agrees that a

short extension in accordance with the Federal Rules would be appropriate to facilitate full

consideration of the positions of the parties and the arguments made at the hearing. He also noted

that once the Court ruled on the merits in a final, appealable order, the TRO would be vacated, and

the application would be moot. While counsel for the defendants indicated a lack of familiarity

with the relevant legislative history and proposed to look into it as the subject of a supplemental

filing, she voiced defendants’ objection to any extension of the TRO for the same reasons they

opposed it in the first place.

        In consideration of all of these circumstances, then, the Court finds, pursuant to Rule

65(b)(2), that there is good cause to extend the temporary restraining order for an additional three

days, through Saturday, March 1, so that the status quo will be preserved for the brief period of

time it takes to complete the written opinion on the consolidated motion for preliminary injunction

and cross motions for summary judgment.

        SO ORDERED.



                                                      AMY BERMAN JACKSON
                                                      United States District Judge


DATE: February 26, 2025




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